 Case 1:21-cv-20691-DPG Document 1 Entered on FLSD Docket 02/18/2021 Page 1 of 16




                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                  (Miami Division)

                                       Civil Action:

     ARTICE PEOPLES,

           Plaintiff,

     vs.

     CITY OF MIAMI, a Florida municipal
     corporation; RODOLFO LLANES,
     individually; FABIO SANCHEZ,
     individually; FRATERNAL ORDER
     OF POLICE, WALTER E. HEADLEY,
     JR., MIAMI LODGE NO. 20, an
     employee organization, and
     JAVIER ORTIZ, individually,

           Defendants.
                                         /

                    Complaint for Damages and Injunctive Relief

      Count I: Artice People’s Claim Under 42 U.S.C. § 1983 for Violation
        Of his Fifth and Fourteenth Amendment Rights to Due Process

           Plaintiff, Artice Peoples, sues defendants, City of Miami, Rodolfo

     Llanes, Fabio Sanchez, Fraternal Order of Police, Walter E. Headley, Jr.,

     Miami Lodge No. 20, and Javier Ortiz, and alleges:

                             Introduction and Summary

           1.     This is an action by Artice Peoples, a former City of Miami police

     officer, whom Javier Ortiz — at the time the president of the Fraternal Order




aa
pa   The Amlong Firm ! 500 Northeast Fourth Street !   Fort Lauderdale, FL 33301   !   954.462.1983
Case 1:21-cv-20691-DPG Document 1 Entered on FLSD Docket 02/18/2021 Page 2 of 16




  of Police lodge that represents the City’s law enforcement officers — bullied

  into signing an irrevocable form-letter of resignation by threatening

  immediate arrest, ensuing media shame, termination and forfeiture of

  pension benefits. The investigation of Mr. Peoples was overseen by Fabio

  Sanchez, an Internal Affairs sergeant. The use of irrevocable, form-letter

  resignations was an unofficial policy or custom within the City of Miami

  Police Department, known to and adopted by Rodolfo Llanes, the chief of

  police at the time and the addressee and recipient of each resignation. The

  police department enlisted then-Lt. (now Capt.) Ortiz, One, to secure

  irrevocable, on-the-spot resignations from at least four City police officers

  under the guise of his being, as FOP president, their representative in the

  Internal Affairs investigations, and, Two, to short-circuit the Florida statute

  that specifies the rights of law enforcement officers who are subject to

  internal-affairs investigation. Mr. Peoples sues all defendants unfrt 42

  U.S.C. § 1983 for both violating his rights to due process, and for conspiring

  to do so. Finally, Mr. Peoples sues Mr. Ortiz and the FOP for fraudulently

  representing that the City had evidence he participated in the tow-truck

  scheme. He seeks damages, including punitive damages, injunctive relief

  his attorney’s fees and litigation expenses.

                            Jurisdiction and Venue

        2.    These claims arise under the due process clause Fifth

  Amendment to the United States Constitution, as extended to the States by

  the Fourteenth Amendment, and 42 U.S.C. § 1983. This Court has



                                                                    Page 2 of 16
Case 1:21-cv-20691-DPG Document 1 Entered on FLSD Docket 02/18/2021 Page 3 of 16




  jurisdiction pursuant to 28 U.S.C. § 1331. It has supplemental jurisdiction

  pursuant to 28 U.S.C. § 1337 over state-law claims that are so related to §

  1983 claims that they form part of the same case or controversy under

  Article III of the United States Constitution.

        3.    The claims being sued upon arose in Miami-Dade County,

  Florida, which is where the defendants at all material times resided or did

  business.

                                       Parties

        4.    Artice Peoples was at all times material a City of Miami police

  officer whose property right to his employment was protected by the City of

  Miami Civil Service Ordinance; §§ 112.531-535, FLA. STAT., the so-called

  “Law Enforcement Officers’ Bill of Rights,” and the option to take any

  proposed discipline to either binding arbitration under the collective

  bargaining agreement’s grievance procedure or to the Civil Service Board.

        5.    Defendant City of Miami is, and at all times material was, a

  Florida municipal corporation that operated towards Mr. Peoples under color

  of state law and the ability of which to terminate its police officers was

  limited to instances in which either:

              a.     an arbitrator would find, under the collective bargaining

  agreement, that it had “proper cause” to do so, or

              b.     the Civil Service Board would find by a majority vote that

  the police officer was guilty of a firing offense.




                                                                    Page 3 of 16
Case 1:21-cv-20691-DPG Document 1 Entered on FLSD Docket 02/18/2021 Page 4 of 16




        6.    Defendant Rodolfo Llanes was at all times material Miami’s

  Chief of Police and acted towards Mr. Peoples pursuant to the authority

  bestowed upon him by the City and under color of state law. He is sued in

  his individual capacity.

        7.    Defendant Fabio Sanchez was at all times material a sergeant of

  police in the Internal Affairs section who acted towards Mr. Peoples

  pursuant to the authority bestowed upon him by the City and under color of

  state law. He is sued in his individual capacity.

        8.    Defendant Fraternal Order of Police, Walter E. Headley, Jr.,

  Miami Lodge No. 20 (“FOP”), is the public-employee labor union that

  represents police officers, sergeants, lieutenants and captains employed by

  the City of Miami, including in disciplinary matters. In this matter,

  however, the FOP was a wilful participant in the deprivation of Mr. Peoples’s

  right to due process through the actions Javier Ortiz, its president.

        9.    Defendant Javier Ortiz was at all times material president of the

  FOP. Mr. Ortiz at all times material acted towards Mr. Peoples not under

  color of state law as a lieutenant of police, but rather as a policy-making

  official of the police union who was a willing participant in the City’s and the

  individual defendants’ scheme to deprive Mr. Peoples of his right to due

  process. He is sued in his individual capacity. Additionally, at all times

  material, Mr. Ortiz was acting towards Mr. Peoples within the scope of his

  employment as president of the FOP, i.e.:




                                                                     Page 4 of 16
Case 1:21-cv-20691-DPG Document 1 Entered on FLSD Docket 02/18/2021 Page 5 of 16




              a.    representing police officers who are accused of

  wrongdoing by Internal Affairs was part of Mr. Ortiz’s job as FOP president;

              b.    Mr. Ortiz’s conduct towards Mr. Peoples occurred while he

  was performing that duty as an FOP representative, and

              c.    Mr. Ortiz’s conduct was motivated by a desire to maintain

  or improve the relationship between the FOP and the City of Miami.

                   General Allegations as Relates to Count I

        10.   In or about mid-December 2016, one police officer, two police

  aides and several tow-truck operators were arrested following an FBI

  investigation into tow-truck operators’ bribing police officers during the

  2013-2014 period when Mr. Peoples worked as a patrol officer in Little

  Havana. The City had made no arrests.

        11.   Mr. Peoples, whom the City had relieved of duty December 2,

  2014, was summoned February 14 or 15, 2017 to come to Internal Affairs

  February 17 to review his investigative file.

        12.   Following a five to six hour period, during most of which Messrs.

  Ortiz and Sanchez were behind closed doors, Mr. Ortiz entered the room in

  which Mr. Peoples had been waiting and began screaming at him:

              a.    “Artice, they’re going to bury you,”

              b.    “They want you gone,”

              c.    “Artice, you’re going to end up losing your pension,”

              d.    “If you don’t sign their resignation, you’re going to jail,”




                                                                     Page 5 of 16
Case 1:21-cv-20691-DPG Document 1 Entered on FLSD Docket 02/18/2021 Page 6 of 16




  and capped off the resignation pitch by telling Mr. Peoples that if he did not

  sign the resignation form, his son would see him on television doing the

  “walk of shame” into jail.

          13.   Mr. Peoples told Mr. Ortiz that if Mr. Ortiz were not going to

  assist him in fighting the allegations, Mr. Peoples would simply telephone

  the FOP’s lawyer, Robert Buschel, Esquire, whom Mr. Peoples had

  individually retained to represent him at in the Internal Affairs

  investigation.

          14.   Mr. Ortiz responded that he did not want Mr. Buschel involved

  and asked Mr. Peoples: "Who pays him the bigger retainer each month?"

          15.   When Mr. Peoples questioned Mr. Ortiz about taking any

  termination to arbitration pursuant to the collective bargaining agreement,

  Mr. Ortiz responded: “Arbitration needs to be voted on. We’ll vote against

  you.”

          16.   Although Mr. Peoples sought to have Mr. Buschel represent him

  when he returned to Internal Affairs February 21 to give a formal

  statement, Mr. Buschel texted Mr. Peoples that day:       “Javi told me to stand

  down. He[’]ll go in with you. . . .”

          17.   At 11:19 p.m. Chief Llanes was telephoned to arrange his

  immediate acceptance of the resignation that Mr. Ortiz had obtained.

          18.   When the Florida Department of Law Enforcement’s Bureau of

  Standards inquired about the City’s investigation — in connection with the

  coerced resignation of another police officer, Melanie Ortiz, that Mr. Ortiz



                                                                      Page 6 of 16
Case 1:21-cv-20691-DPG Document 1 Entered on FLSD Docket 02/18/2021 Page 7 of 16




  had obtained through threats similar to those made to Mr. Peoples — Jose

  A. Rodriguez, the major in charge of Internal Affairs, informed it the

  investigation was ongoing and if FDLE needed more information, it should

  contact Shanetta Green, an internal-affairs detective.

        19.   Mr. Rodriguez wrote the FDLE July 14, 2017 that:

        Officer Ortiz used her position to steer business towards, or otherwise
        assist, pirate tow truck operators in soliciting motorists and towing
        their vehicles to corrupt collision repair companies who were also
        involved in the criminal solicitation. (See attached) [Handwritten]

        20.   Appended was a 12-page Inter-Office memorandum written to

  Mr. Rodriguez by Ms. Green, purporting to document numerous cell-phone

  and text communications between Ms. Ortiz and Armando Morales, a tow-

  truck driver notorious for prowling Little Havana with a police scanner,

  listening for accident calls.

        21.   The memo:

              a.     purported to quote not only a confidential source, but also

  tape-recorded undercover conversations in which Ms. Ortiz was alleged to

  have made self-incriminating statements;

              b.     accused Ms. Ortiz of, among other things, telephoning Mr.

  Morales from accident scenes, taking cash kickbacks, getting her personal

  car, a Nissan Maxima, painted for free at an outlaw body shop to which Mr.

  Morales routinely took vehicles and having damage to her marked police car

  surreptitiously repaired at the same body shop.

        22.   However:




                                                                    Page 7 of 16
Case 1:21-cv-20691-DPG Document 1 Entered on FLSD Docket 02/18/2021 Page 8 of 16




              a.    Ms. Green admitted to FDLE in a November 20, 2017 e-

  mail that the City possessed no evidence against Ms. Ortiz:

        [W]e did have call logs, recorded calls, and uc [undercover]
        recordings but they belong to the FBI and would have to be requested
        thru them. We also had case files from the tow companies but they
        were also received thru the FBI and have been returned as well.

        Sorry that there is not much I can give you. . . [M]ost of the
        evidence received was thru the FBI because it was a federal case. . . .
        These were the last individuals that had involvement in the scheme
        we were investigating but not enough to go federal and without the
        evidence being released due to grand jury and no recorded hand to
        hand transactions it was not enough for the state to move on. They
        were all handled administratively and were provided the opportunity
        to review the evidence against them and to discuss with their
        representative of choice. Some chose to provide a Garrity statement
        and others simply resigned.

              b.    Ms. Ortiz had paid for her car to be painted with a money

  order from her bank.

              c.    Ms. Ortiz never damaged a marked police car; Ms. Green

  offered no evidence of any vehicle assigned to Ms. Ortiz ever having been

  damaged.

              d.    Notwithstanding that one police officer and two police

  aides were arrested and pleaded guilty, Mr. Morales was not arrested.

        23.   Ms. Green’s reference in her e-mail to FDLE about “[t]hese were

  the last individuals that had involvement in the scheme we were

  investigating” refers to Mr. Peoples, Ms. Ortiz, Reynaldo Irias, Yesid Ortiz

  and Michael Bode:




                                                                    Page 8 of 16
Case 1:21-cv-20691-DPG Document 1 Entered on FLSD Docket 02/18/2021 Page 9 of 16




              a.    Messrs. Irias and Ortiz each resigned May 10, 2017,

  having been summoned to Internal Affairs and told that if they did not

  resign, they would be fired;

              b.    The language of Messrs. Irias and Ortiz’s resignations was

  almost a verbatim copy of the memo that Mr. Ortiz had presented to Mr.

  Peoples February 21, 2017:

        Effective immediately (5/10/17), I am voluntarily resigning from my
        position as a Miami Police Officer. No threats, rewards or promises
        have been made to me. This redline memorandum is irrevocable. I
        have spoken to my representative of choice, Lieutenant Javier Ortiz
        who is a representative of the Miami Fraternal Order of Police. I am
        resigning for personal reasons and believe that this is the best option
        for myself and my family.

              c.    Ms. Ortiz, who had never been suspended but in

  December 2016 became the first police officer whom Mr. Ortiz coerced into

  resigning, was handed a similar letter:



        I, Officer Melanie Ortiz P.I.N. 29186 voluntarily resign with no threats,
        rewards or promises from my position as a Police Officer with the City
        of Miami Police Department. This redline memorandum is irrevocable
        and my resignation will be effective immediately. I have spoken to my
        representative of choice, Lieutenant Javier Ortiz who is the President
        of the Miami Fraternal Order of Police. I am resigning for personal
        reasons and believe that this is the best option for myself and my
        family.

              d.    Ysed Ortiz said in a grievance that he filed concerning the

  coerced resignation that he had no idea what he was being accused of, but

  that Javier Ortiz had told him that he was aware of the situation and “[y]our

  best bet is to resign so you can keep your certification and your retirement,

  the FOP will most likely NOT represent you.”

                                                                    Page 9 of 16
Case 1:21-cv-20691-DPG Document 1 Entered on FLSD Docket 02/18/2021 Page 10 of 16




              e.       Mr. Irias said in his grievance that he also had no idea

  why he had been summoned to Internal Affairs, but that a lieutenant told

  him that “we are recommending termination and I already talked to Javier

  Ortiz about this.”

              f.       When Maximilliano Valdes, a sergeant and at the time the

  FOP’s secretary-treasurer, accompanied Mr. Bode to Internal Affairs to

  submit his resignation (after Mr. Bode’s having admitted to the FBI under

  oath that he had taken kickbacks from pirate tow-trucks, and being warned

  by Mr. Valdes that he dare not deny doing so in a sworn statement to

  Internal Affairs or he would be prosecuted for perjury), Mr. Sanchez

  retrieved the form resignation letter — which he told Mr. Valdes had been

  “approved” by Mr. Ortiz.

        24.   Although the City is resisting, and appealing to the District

  Court of Appeal, a Miami-Dade circuit court judge has ruled that Messrs.

  Irias and Ortiz can grieve their “resignations” and that an arbitrator would

  have jurisdiction to overturn them.

        25.   Chief Llanes personal involvement included, One, accepting the

  irregular, cookie-cutter resignations — which, if the “resigning” police

  officers had truly been guilty of the kickback allegations, would have

  permitted each of them to escape justice for actual crimes they had

  committed, and, Two, had his name on the top of the termination

  recommendations in Messrs. Irias and Ortiz’s files.




                                                                     Page 10 of 16
Case 1:21-cv-20691-DPG Document 1 Entered on FLSD Docket 02/18/2021 Page 11 of 16



        26.     Municipal employees such as Mr. Peoples enjoy clearly

  established Fifth and Fourteenth Amendment rights not to be deprived of

  property or liberty without due process of law by being coerced into

  resigning their vested public employment.

        27.     The City of Miami, through Messrs. Llanes, Rodriguez and

  Sanchez, in each’s official and individual capacities, and in concert with Mr.

  Ortiz and the FOP, deprived Mr. Peoples of his right to due process.

        28.     Mr. Llanes at all times material was:

                a.   the City’s official decision-maker in the termination of Mr.

  Peoples: he authorized and knowingly countenanced the use of coerced

  waivers of due process rights to police officers accused of wrongdoing, and

                b.   its final policy maker: there was no meaningful review

  within the City of Miami government concerning the coerced “irrevocable”

  resignations.

        29.     As a direct, natural and proximate result of defendants’ actions

  towards Mr. Peoples, Mr. Peoples has suffered damages, including but not

  limited to:

                a.   lost earnings;

                b.   diminishment of earning capacity; and

                c.   emotional distress and mental anguish.

        30.     Each of the individual defendants, and the FOP, exhibited wilful

  disregard of Mr. People’s clearly established constitutional rights to due




                                                                   Page 11 of 16
Case 1:21-cv-20691-DPG Document 1 Entered on FLSD Docket 02/18/2021 Page 12 of 16



  process, entitling him to recover punitive damages against each defendant

  other than the City of Miami.

        31.   If not enjoined by this Court to cease its deprivation of Mr.

  People’s constitutional right to due process — including by being

  mandatorily enjoined to reinstate Mr. Peoples as a police officer, and to

  restore his benefits and seniority — the City of Miami would continue to

  deprive Mr. Peoples of:

              a.    his liberty right to his good names and

              b.    his property right to his employment as a police officer,

  each without due process.

        32.   Plaintiff is entitled, pursuant to 42 U.S.C. § 1988, to recover his

  costs and litigation expenses, including a reasonable attorney’s fee, for

  bringing this action.

        WHEREFORE, Plaintiff, Artice Peoples, prays that this Court will grant

  judgment for him, and against defendants, City of Miami, Rodolfo Llanes,

  Fabio Sanchez, Fraternal Order of Police, Walter E. Headley, Jr., Miami

  Lodge No. 20, and Javier Ortiz:

        One, determining that the City, the individual defendants and the FOP

  violated Mr. People’s rights to due process under the Fifth and Fourteenth

  Amendments;

        Two, enjoining the City, both preliminarily and permanently, to cease

  denying Mr. Peoples his liberty and property rights without due process and

  to reinstate him as a police officer, with full seniority and benefits;



                                                                    Page 12 of 16
Case 1:21-cv-20691-DPG Document 1 Entered on FLSD Docket 02/18/2021 Page 13 of 16



        Three, awarding compensatory damages against the City of Miami,

  the individual defendants and the FOP, jointly and severally, and awarding

  punitive damages against the individual defendants and the FOP;

        Four, awarding costs, including attorney’s fees and litigation

  expenses, against the City of Miami, the individual defendants and the FOP,

  jointly and severally, and

        Five, granting such other and further relief as is just.

    Count II: Conspiracy Amongst City, Individual Defendants and FOP
                To Violate Peoples’s Constitutional Rights

        33.   Plaintiff, Artice Peoples realleges, as if fully set forth in Count II,

  ¶¶ 1-32.

        34.   Mr. Ortiz and the FOP were willing participants with those

  defendants acting under color of state law to effect the coerced resignation

  of Mr. Peoples.

        35.   Mr. Ortiz was acting toward Mr. Peoples not as a lieutenant of

  police, but rather as:

              a.    the FOP’s policy maker in approving the “irrevocable,” on-

  the-spot resignations, and

              b.    the FOP and the City’s executioner by:

                    i.     threatening jail, shame, termination and loss of

  pensions if Mr. Peoples and the other officers did not irrevocably resign;

                    ii.    telling Mr. Peoples’s retained lawyer to “stand down”

  from accompanying Mr. Peoples to Internal Affairs for his formal statement.




                                                                      Page 13 of 16
Case 1:21-cv-20691-DPG Document 1 Entered on FLSD Docket 02/18/2021 Page 14 of 16



        36.   Without the cooperation of Mr. Ortiz and the FOP, the City of

  Miami and its police officers identified in Counts I and II would not have

  been able to secure the “voluntary” resignation of Mr. Peoples.

        WHEREFORE, Plaintiff, Artice Peoples, prays that this Court will grant

  judgment for him, and against defendants, Rodolfo Llanes, Fabio Sanchez,

  and Fraternal Order of Police, Walter E. Headley, Jr., Miami Lodge No. 20,

  and Javier Ortiz:

        One, awarding compensatory damages against the City, the individual

  defendants and the FOP, jointly and severally, and awarding punitive

  damages against the individual defendants and the FOP, and

        Two, granting such other and further relief as is just.

                Count III: Fraud by Javier Ortiz and the FOP

        37.   Plaintiff, Artice Peoples realleges, as if fully set forth in Count

  III, ¶¶ 1-4 and 8-23.

        38.   Javier Ortiz, on or about February 17 and 21, 2017, falsely told

  Mr. Peoples that Internal Affairs had enough evidence against him to fire

  him and arrest him.

        39.   Mr. Ortiz, when he made those false statements, was doing so

  as the president of the FOP, as more particularly alleged in ¶ 9.

        40.   Mr. Ortiz knew at the time that he made those representations

  that they were false.




                                                                     Page 14 of 16
Case 1:21-cv-20691-DPG Document 1 Entered on FLSD Docket 02/18/2021 Page 15 of 16



        41.   Mr. Ortiz nonetheless made those representations to Mr. Peoples

  to induce him to immediately and irrevocably resign and to forego his rights

  to either binding arbitration or an appeal to the Civil Service Board.

        42.   By acting in reliance on Mr. Ortiz’s false statement, Mr. Peoples

  was injured: he lost his job as a City of Miami police officer,

  notwithstanding that:

              a.    not only had he not accepted kickbacks from any pirate

  tow-truck operator, but

              b.    the City of Miami had no evidence to present to either a

  state-court prosecutor, a criminal court, an arbitrator or the Civil Service

  Board that he had done so.

        43.   As a direct, natural and proximate result of Mr. Ortiz and the

  FOP’s actions towards Mr. Peoples, he has suffered damages, including but

  not limited to:

              a.    lost earnings,

              b.    diminishment of earning capacity and

              c.    emotional distress and mental anguish.

        44.   Mr. Ortiz, on behalf of himself and the FOP, exhibited such wilful

  disregard of the rights of Mr. Peoples as to entitle Mr. Peoples to recover

  punitive damages against both Mr. Ortiz and the FOP.

        WHEREFORE, Plaintiff, Artice Peoples prays that this Court will grant

  judgment for him, and against defendants, Javier Ortiz and Fraternal Order

  of Police, Walter E. Headley, Jr., Miami Lodge No. 20:



                                                                    Page 15 of 16
Case 1:21-cv-20691-DPG Document 1 Entered on FLSD Docket 02/18/2021 Page 16 of 16



          One, awarding compensatory against Mr. Ortiz and the FOP, jointly

  and severally, and awarding punitive damages against the Mr. Ortiz and the

  FOP individually.

          Two, granting such other and further relief as is just.

                                                        Respectfully Submitted,

                                                        /s/ Karen Coolman Amlong
                                                        KAmlong@TheAmlongFirm.com
                                                        The Amlong Firm
                                                        500 Northeast Fourth Street
                                                        Second Floor
                                                        Fort Lauderdale, Florida 33301-1154
                                                        (954) 462-1983

                                                        Attorneys for the Plaintiff,
                                                             Artice Peoples

  \\amlong3\cpshare\CPWin\HISTORY\210218_0001\182D.05




                                                                                  Page 16 of 16
